             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:09cr13-8


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                    ORDER
                            )
                            )
KENNETH LEE FOSTER.         )
____________________________)



     THIS MATTER is before the Court on the following pro se filings by

the Defendant:

  1. Motion pursuant to Federal Rules of Criminal Procedure Rule 33

     based on the Government’s Nondisclosure of Information Favorable

     to the Defense under Brady [Doc. 642];

  2. Letter Motion for Disposition [Doc. 667];

  3. Consolidated Motion for and Brief in Support of Summary Judgment

     of Rule 33 Motion [Doc. 677];

  4. Motion for Docket 348 [Doc. 680];

  5. Motion for Status Report or Hearing [Doc. 692];

  6. Motion for Status Report or Hearing [Doc. 698]; and



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    7. Motion to Rule on Rule 33 Brady Claim [Doc. 700].

                            PROCEDURAL HISTORY

      On July 9, 2009, the Defendant was found guilty by jury verdict of

conspiracy to possess with intent to distribute cocaine base and using a

communication facility to commit that conspiracy, in violation of 21 U.S.C.

§§846 & 843. [Doc. 299]. The Defendant filed post-trial motions to dismiss

the indictment, for a judgment of acquittal and to set aside the verdict and

grant a new trial. [Doc. 303]. Those motions were denied by the trial court

on August 6, 2009.1 [Doc. 319].

      Because the Defendant had a prior felony drug conviction, he faced a

mandatory minimum sentence of 20 years on Count One. [Doc. 160]. He

was also found to be a career offender based on his criminal history. [Doc.

338]. On August 26, 2009, the Defendant was sentenced to 360 months

imprisonment on Count 1 and 96 months on Count 2 to run concurrently

with Court 1. [Doc. 347]. The Defendant appealed his conviction and

sentence. [Doc. 363].

        On appeal, the Defendant attacked the evidence produced as a

result of wiretaps, claiming that the trial court erred by refusing to suppress


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  Hon. Lacy H. Thornburg was the trial court judge. When he retired, the case was
reassigned to the undersigned.
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the same. United States v. Foster, 416 Fed. App’x. 304 (4th Cir.), cert.

denied ____ U.S. ____, 132 S.Ct. 218, 181 L.Ed.2d 120 (2011).               The

United States Court of Appeals for the Fourth Circuit held:

      As to the contention that the wiretap application did not comply
      with 18 U.S.C. §2518(1)(c) because it did not contain a “full and
      complete statement” of the facts, the Defendants claim that our
      review is limited to AUSA Rose’s application and that [Special
      Agent] Guzzo’s affidavit, although it was incorporated by
      reference, cannot be considered. In particular, they allege that
      defense counsel did not have access to Guzzo’s affidavit.
      There is nothing in the record and the Defendants cite to
      nothing, however, to support their assertion that trial counsel
      did not have a copy of the affidavit or could not have obtained
      it, had it been requested. Moreover, it is undisputed that the
      district court had Guzzo’s affidavit when it issued the wiretap
      warrant. Thus, we may consider Guzzo’s affidavit in
      determining whether the application complied with §2518(1)(c).
      Review of the application and Guzzo’s affidavit clearly
      demonstrates that the “full and complete” information required
      by §2518(1) was supplied to the court. No error has been
      shown.

Id. at 309. The Court of Appeals also held in a footnote that “Guzzo’s

affidavit is in the supplemental joint appendix and is properly before this

Court.   Additionally, the district court had the affidavit before it when it

issued its wiretap order.” Id. at n.6. It further held that the trial court “did

not abuse its discretion in issuing the initial wiretap order or in denying the

motion to suppress.” Id. at 310. The Defendant’s conviction and sentence

were affirmed. Id. at 312.

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         On March 23, 2012, the Defendant filed a motion pursuant to 28

U.S.C. §2255. [Foster v. United States, Civil Case No. 1:12cv63, Doc. 1].

On July 2, 2012, the Court granted the Defendant’s request to construe that

action as one brought pursuant to Bivens2 and dismissed it with prejudice.

[Id. at Doc. 6]. The Defendant did not appeal that ruling.

         On October 2, 2012, the Defendant filed a motion pursuant to 28

U.S.C. §2255 alleging that he received ineffective assistance of counsel,

specifically in regards to the handling of the motion to suppress based on

the wiretaps. [Foster v. United States, Civil Case No. 1:12cv315, Doc. 1].

That action remains pending. This decision addresses only the motions

pending in the criminal case.

                              STANDARD OF REVIEW

         In order to obtain a new trial on the basis of a Brady3 violation, a

defendant must (1) identify the existence of evidence favorable to him; (2)

show that the Government suppressed that evidence; and (3) show that the

suppression was material. United States v. King, 628 F.3d 693, 701 (4th

Cir. 2011).       The burden of proof rests with the defendant.                  Id.   “[A]


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 Bivens v. Six Unknown Named Agencts of Fed. Bureau of Narcotics, 403 U.S. 388, 91
S.Ct. 1999, 29 L.Ed.2d 619 (1971).
3
    Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963).

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defendant must specifically prove the materiality of the suppressed

evidence, demonstrating a reasonable probability that, had the evidence

been disclosed to the defense, the result of the proceeding would have

been different.” Id. at 702 (internal quotation and citation omitted).    The

Court has considered the record of the proceedings and finds that a

hearing on this motion is unnecessary to its resolution. United States v.

Delorme, 481 Fed. App’x. 592, 594 (11th Cir. 2012) (defendant not entitled

to hearing on purported Brady violation); United States v. Ferguson, 385

Fed. App’x. 518, 525 (6th Cir.), cert. denied ____ U.S. ____, 131 S.Ct.

3060, 180 L.Ed.2d 887 (2011).

                                DISCUSSION

     On appeal, the Defendant argued that the District Court erred in

failing to suppress the evidence obtained through the wiretap orders. Those

orders, he claimed, were defective because the Government failed to

attach the supporting affidavit of Agent Guzzo and because defense

counsel did not have access to that affidavit. The Fourth Circuit, however,

held that the affidavit had been properly filed in support of the application

and had been before the District Court at the time the wiretap issued. It

also held there was no evidence in the record that the affidavit had not

been disclosed to the Defendant.
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      Having failed on appeal, the Defendant now shifts his argument to the

Government’s purported failure to file the memorandum of authorization for

the wiretap. [Doc. 642-1]. The Defendant argues that the Government

conceded on appeal that the wiretap memorandum had not been filed and

thus had not provided to the Defendant. [Doc. 642 at 6]. The Government,

he claims, “revealed” on appeal that the memorandum had not been filed

“by the government or with the District Court.” [Id.].

      This purported concession stems from the Government’s Motion for

Leave to File Supplemental Joint Appendix which was filed with the Fourth

Circuit during the Defendant’s appeal. [Doc. 642-2]. In that motion, the

Government acknowledged the Defendant’s argument on appeal that “the

record on appeal does not show that the Government’s wiretap applications

were authorized by an official appropriately designated to authorize such

applications by the Attorney General of the United States.”           [Id. at 2]

(emphasis provided). Contrary to the Defendant’s claim that the District

Court never saw the memorandum of authorization, the Government also

noted in its motion before the Court of Appeals:

      Omitted from the Joint Appendix [before the Court of Appeals],
      however, is the memorandum of authorization obtained by the
      Government from the Department of Justice a week before the
      first wiretap application was filed and presented to the district
      court to support that application. In preparing for the trial of
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      Defendant Foster’s wife in March of 2010, Government counsel
      realized that this memorandum had inadvertently not been filed
      by the district court when it filed under seal the documents
      submitted by the Government and considered by the district
      court in granting the Government’s initial (and subsequent)
      wiretap order(s). To provide a full and complete record, the
      Government filed the authorizing memorandum on March 11,
      2010. Thus, this document is also part of the record but was
      apparently not in the district court record at the time the court
      decided Foster’s motion to suppress. Nevertheless, because
      this document was submitted to the district court, and in any
      event, makes clear that the Government did indeed have
      proper authorization to submit the wiretap applications, it is
      necessary [for inclusion in the record on appeal].

[Doc. 642-2 at 3-4].

      The Defendant’s argument that the issuing court never saw the

memorandum of authorization ignores the Fourth Circuit’s holding that the

trial court “did not abuse its discretion in issuing the initial wiretap order or

in denying the motion to suppress.” Foster, 416 Fed. App’x. at 310. The

issue of authorization was before the Court of Appeals, as shown by the

Government’s motion to supplement, and the Court of Appeals held that

the District Court did not err in denying the Defendant’s motion to suppress,

a motion based on the purportedly defective wiretap applications.            The

Fourth Circuit has ruled that the wiretap applications and the ensuing

wiretap warrants were proper. The Defendant therefore cannot meet his

initial burden of showing that the Government failed to disclose information,

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much less favorable and material information. United States v. Tellechea,

478 Fed. App’x. 605, 607 (11th Cir. 2012) (quoting United States v. Starrett,

55 F.3d 1525, 1554 (11th Cir. 1995)) (“Failure to meet any one of these

elements will defeat a motion for a new trial.”).

      Moreover, under the law-of-the-case doctrine, “when a court decides

upon a rule of law, that decision should continue to govern the same issues

in subsequent stages in the same case.”             Christianson v. Colt Indus.

Operating Corp., 486 U.S. 800, 815-16, 108 S.Ct. 2166, 100 L.Ed.2d 811

(1988). The mandate rule stems from the law-of-the-case doctrine and

forbids a district court from failing to follow the decision of an appellate

court as to issues that “have been explicitly or implicitly decided on

appeal[.]”   United States v. Minicone, 994 F.2d 86, 89 (2nd Cir. 1993).

“Under these principles, a district court faced with a motion for a new trial

under Rule 33 may not reconsider Brady claims that have been decided by

a court of appeals.” United States v. Basciano, 2010 WL 3325409 **6

(E.D.N.Y.), affirmed 465 Fed. App’x. 9 (2nd Cir.), cert. denied ____ U.S.

____, 132 S.Ct. 2788, 183 L.Ed.2d 656 (2012). Such is the case here and

the Defendant is not entitled to relief.

      The Defendant’s remaining motions relate to his motion for a new trial

based on a Brady violation. He claims, for example, that because the
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Government never responded to the motion, he is automatically entitled to

the relief sought.4 The Defendant, however, failed to show that there was

any Brady violation. That outcome does not change simply because the

Government did not respond to this Motion.

      Finally, the Defendant requested that the Clerk of Court provide him

with a copy of Document 348, which is the Statement of Reasons filed in

connection with his Judgment of Conviction. In that document, which is not

for public disclosure, the Court made findings and disclosures related to the

Defendant’s presentence investigation report. [Doc. 348]. The Bureau of

Prisons (BOP) Program Statement No. 1351.05 prohibits federal inmates

from possessing copies of their presentence reports due to safety

concerns.     United States v. Pugh, 69 Fed.Appx. 628 (4th Cir. 2003);

Thompson v. United States Dept. of Justice, 2006 WL 2585033 (N.D.W.Va.

2006).    As a result, the Clerk of Court may not mail a copy of the

Defendant’s presentence report to him. Id.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the following motions are

hereby DENIED:

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  The Defendant’s argument that this Court ordered the Government to respond is
incorrect. The Defendant has conflated his pending §2255 motion with this case.

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                                        Signed: May 25, 2013




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